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                           UNITED STATES DISTRICT COURT
                              DISTRICT OF MINNESOTA



United States of America,
                                                       Criminal No. 18-cr-150-1 (DWF/HB)
                       Plaintiff,

v.
                                                           ARRAIGNMENT ORDER
Michael Hari (1),

                       Defendant.



         A hearing was held before the undersigned United States Magistrate Judge on

February 14, 2019. Defendant was present in court with his attorney, Shannon Elkins,

Assistant Federal Public Defender. The government was represented by Julie Allyn and John

Docherty, Assistant United States Attorney.

         Defendant identified himself by name and birth date; waived the reading of the

indictment; and entered a plea of not guilty.

         Pursuant to Local Rule 12.1 (copy attached), IT IS HEREBY ORDERED that:

         1.     The government shall make all disclosures required by Federal Rule of

Criminal Procedure 16(a) by February 21, 2019. D. Minn. LR 12.1(a)(1). In order to avoid

the need for a recess of the motions hearing, the government is requested to make, by

February 21, 2019, all disclosures which will be required by Fed. R. Crim. P. 26.2 and

12(h).

         2.     Defendant shall make all disclosures required by Federal Rule of Criminal

Procedure 16(b) by February 28, 2019. D. Minn. LR 12.1(a)(2).
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       3.      All motions in the above-entitled case shall be filed and served consistent with

Federal Rules of Criminal Procedure 12(b) and 47 on or before March 7, 2019. 1 D. Minn.

LR 12.1(c)(1). Two courtesy copies of all motions and responses shall be delivered directly

to the chambers of Magistrate Judge Hildy Bowbeer. 2

       4.      Counsel shall electronically file a letter on or before March 7, 2019, if no

motions will be filed and there is no need for hearing.

       5.      All responses to motions shall be filed by March 21, 2019. D. Minn.

LR 12.1(c)(2).

       6.      Any Notice of Intent to Call Witnesses 3 shall be filed by March 21, 2019. D.

Minn. LR. 12.1(c)(3)(A).

       7.      Any Responsive Notice of Intent to Call Witnesses 4 shall be filed by

March 25, 2019. D. Minn. LR 12.1(c)(3)(B).




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        “Before filing a motion under Fed. R. Crim. P. 12(b), the moving party must confer with
the responding party. The parties must attempt in good faith to clarify and narrow the issues in
dispute.” D. Minn. LR 12.1(b).
2
       U.S. Mail or hand-deliver to 316 N. Robert St., Room 632, Saint Paul, MN 55101.
3
        “When a party intends to call witnesses at a hearing on a motion under Fed. R. Crim. P.
12(b), the party must file a notice within 35 days after the arraignment. The notice must identify
the number of witnesses whom the party intends to call, the motion or motions that each witness
will be addressing, and the estimated duration of each witness’s testimony.” D. Minn. LR
12.1(c)(3)(A).
4
        “If after reviewing a notice under LR 12(c)(3), a party intends to call witnesses at the
same hearing, that party must file a responsive notice within 38 days after the arraignment. The
responsive party must identify the number of witnesses whom the party intends to call, the
motion or motions each witness will be addressing, and the estimated duration of each witness’s
testimony.” D. Minn. LR 12.1(c)(3)(B).


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        8.     A motions hearing will be held pursuant to Federal Rules of Criminal

Procedure 12(c) where:

               a.      The government makes timely disclosures and Defendant identifies in
                       the motions particularized matters for which an evidentiary hearing is
                       necessary; or

               b.      Oral argument is requested by either party in its motion, objection or
                       response.

        9.     If required, the motions hearing shall be heard before Magistrate Judge Hildy

Bowbeer on March 28, 2019, at 3:00 p.m., in Courtroom 6B, Warren E. Burger Federal

Building and United States Courthouse, 316 North Robert Street, Saint Paul, Minnesota. D.

Minn. LR 12.1(d).

        10.    TRIAL:

               a.      IF NO PRETRIAL MOTIONS ARE FILED BY DEFENDANT, the

following trial and trial-related dates are:

                       i.     All voir dire questions and jury instructions shall be submitted
                              to District Judge Donovan W. Frank on or before April 11,
                              2019.

                       ii.    This case shall commence trial on April 22, 2019, at 9:00 a.m.
                              before District Judge Donovan W. Frank in Courtroom 7C,
                              Warren E. Burger Federal Building and U.S. Courthouse, 316
                              North Robert Street, SAINT PAUL, Minnesota.

               b.      IF PRETRIAL MOTIONS ARE FILED, the trial date, and other

related dates, will be rescheduled following the ruling on pretrial motions. Counsel must

contact the Courtroom Deputy for District Judge Donovan W. Frank to confirm the new trial

date.




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Dated: February 19, 2019           s/ Becky R. Thorson
                                   BECKY R. THORSON
                                   United States Magistrate Judge




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